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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         )       Chapter 11
    In re:                                               )
                                                         )       Case No. 20-12836 (JTD)
    CRED INC., et al.,                                   )
                                                         )       (Jointly Administered)
                                               1
                                    Debtors.             )
                                                         )       Obj. Deadline: Dec. 2, 2020 at 4:00 p.m. (ET)
                                                         )       Hearing Date: Dec. 9, 2020 at 2:00 p.m. (ET)
                                                         )
                                                         )       Re: Docket Nos. 7 & 29




                    NOTICE OF ENTRY OF (1) INTERIM ORDER
                (I) AUTHORIZING DEBTORS TO (A) CONTINUE TO
            OPERATE THEIR CASH MANAGEMENT SYSTEM, (B) HONOR
            CERTAIN PREPETITION OBLIGATIONS RELATED THERETO,
    (C) MAINTAIN EXISTING BUSINESS FORMS, AND (D) CONTINUE TO PERFORM
    INTERCOMPANY TRANSACTIONS; (II) GRANTING ADMINSTRATIVE EXPENSE
     STATUS TO POSTPETITION INTERCOMPANY BALANCES; (III) WAIVING THE
       REQUIREMENTS OF SECTIONS 345(b) OF BANKRUPTCY CODE; AND (IV)
         GRANTING RELATED RELIEF; AND (2) FINAL HEARING THEREON

             PLEASE TAKE NOTICE that on November 9, 2020, the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), filed their Motion of Debtors for Entry of

Interim and Final Orders (I) Authorizing Debtors to (A) Continue to Operate Their Cash

Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain

Existing Business Forms and (D) Continue to Perform Intercompany Transactions; (II) Granting

Administrative Expense Status to Postpetition Intercompany Balances; (III) Waiving the

Requirements of Section 345(b) of Bankruptcy Code; And (IV) Granting Related Relief [Docket



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         The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
number, as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital Inc. (4064), Cred
Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ headquarters are located at 3
East Third Avenue, Suite 200, San Mateo, California 94401.
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No. 7] (the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the

“Court”). A copy of the Motion is attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that following an initial hearing to consider the

Motion on November 10, 2020, the Court entered the Interim Order (I) Authorizing Debtors to (A)

Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition Obligations

Related Thereto, (C) Maintain Existing Business Forms, and (D) Continue to Perform

Intercompany Transactions; (II) Granting Administrative Expense Status to Postpetition

Intercompany Balances; (III) Waiving Requirements of Section 345(b) of the Bankruptcy Code;

And (IV) Granting Related Relief [Docket No. 29] (the “Interim Order”). A copy of the Interim

Order is attached hereto as Exhibit B.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, objections or

responses to the final relief requested in the Motion, if any, must be made in writing and filed with

the Court on or before December 2, 2020 at 4:00 p.m. (Eastern Time) and shall be served on:

(a) the Office of the United States Trustee, 844 King Street, Suite 2207, Wilmington, Delaware

19801    (Attn:     Joseph   McMahon      (Joseph.McMahon@usdoj.gov)         and    John    Schanne

(John.Schanne@usdoj.gov)); (b) Paul Hastings LLP, 600 Travis Street, Fifty-Eighth Floor,

Houston, Texas 77002 (Attn: James T. Grogan (jamesgrogan@paulhastings.com) and Paul

Hastings LLP, 200 Park Avenue, New York, New York 10166 (Attn: G. Alexander Bongartz

(alexbongartz@paulhastings.com)), proposed co-counsel for the Debtors; and (c) Cousins Law

LLC, Brandywine Plaza West, 1521 Concord Pike, Suite 301, Wilmington, Delaware 19803 (Attn.

Scott D. Cousins (scott.cousins@cousins-law.com)), proposed co-counsel for the Debtors.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, the final hearing

with respect to the Motion, if required, will be held before The Honorable John T. Dorsey, United




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States Bankruptcy Judge for the District of Delaware, at the Court, 824 North Market Street, 5th

Floor, Courtroom 5, Wilmington, Delaware 19801, on December 9, 2020 at 2:00 p.m. (Eastern

Time).

         PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED, SERVED AND RECEIVED IN ACCORDANCE WITH

THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF REQUESTED IN THE

MOTION WITHOUT FURTHER NOTICE OR HEARING.

                          [Remainder of page intentionally left blank]




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Dated: November 11, 2020
       Wilmington, Delaware
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                                  Proposed Co-Counsel to the Debtors




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